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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

GRAYSON-BEY,                      Case No. 19-cv-13588-NGE-DRG
                                  Hon. Nancy G. Edmunds
       Plaintiff,                 Mag. Judge David R. Grand
v.

SOUTHFIELD POLICE DEPARTMENT,
OFFICER MICHAEL WOJCIECHOWSKI,
OFFICER DAVID MOORE, and OFFICER
SWADE FOX,

       Defendants.

GRAYSON-BEY                       SEWARD HENDERSON PLLC
Plaintiff, Pro Se                 By: T. Joseph Seward (P35095)
18992 Westbrook                         David D. Burress (P77525)
Detroit, MI 48219                 Attorneys for Defendants
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                                  P: (248) 733-3580
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                                     dburress@sewardhenderson.com


     DEFENDANTS, SOUTHFIELD POLICE DEPARTMENT, OFFICER MICHAEL
     WOJCIECHOWSKI, OFFICER DAVID MOORE, AND OFFICER SWADE FOX’S
                      ANSWER TO THE COMPLAINT

       NOW COME the Defendants, SOUTHFIELD POLICE DEPARTMENT,

OFFICER MICHAEL WOJCIECHOWSKI, OFFICER DAVID MOORE, and OFFICER
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SWADE FOX, by and through their attorneys, SEWARD HENDERSON PLLC, and

for the Answer to the Complaint, states as follows:

      I. A. In answer to paragraph I. A, the Defendants neither admit nor

deny the allegations contained therein for want of sufficient information

upon which to form a belief as to the truth of the averments, and therefore

leave the Plaintiff to his proof.

      I. B. In answer to paragraph I. B, the Defendants acknowledge that the

City of Southfield Police Department is located at 26000 Evergreen within

the City of Southfield. However the Defendants deny that the department

has the capacity to be sued. The Defendants further acknowledge that

Officers Fox, Moore, and Wojciechowski are employed by the City of

Southfield within its fine police department.

      II. In answer to paragraph II, the Defendants neither admit nor deny

the allegations contained therein for want of sufficient information upon

which to form a belief as to the truth of the averments, and therefore leave

the Plaintiff to his proof.

      II. A. 1. In answer to paragraph II. A. 1, the Defendants neither admit

nor deny the allegations contained therein for want of sufficient information
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upon which to form a belief as to the truth of the averments, and therefore

leave the Plaintiff to his proof.

      II. A. 2. In answer to paragraph II. A. 2, the Defendants neither admit

nor deny the allegations contained therein for want of sufficient information

upon which to form a belief as to the truth of the averments, and therefore

leave the Plaintiff to his proof.

      II. B. 1. In answer to paragraph II. B. 1, the Defendants admit the

allegations contained therein.

      II. B. 2. In answer to paragraph II. B. 2, the Defendants admit the

allegations contained therein

      II. B. 3. In answer to paragraph II. B. 3, the Defendants deny the

allegation contained therein for the reason it is untrue.

      III. In answer to paragraph III, Defendants acknowledge that Mr.

Grayson was stopped by the Southfield police officers. The Defendants

acknowledge that Mr. Grayson informed the officers that his son Ameer was

in the back seat. Defendants further agree that Mr. Grayson gave a false

identification of Grayson-Bey. The Defendants acknowledge that the

Southfield officers did wait with Ameer Grayson until his mother arrived.

The Defendants further acknowledge telling Mr. Grayson that the reason he
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was stopped was because they had probable cause to believe that the vehicle

he was driving was involved in a fleeing and eluding felony. Finally, the

Defendants acknowledge that Mr. Grayson appeared in Court.

      IV. Defendants deny that these actions led to the damages being

sought by Plaintiff such as that his wife lost her job, his son was traumatized,

that he would have a need to go to therapy because of this incident or that

he fell behind in this mortgage because of this ordeal for the reason that said

allegations cannot be true.

      WHEREFORE, Defendants pray for a judgment of no cause for action,

together with an award of costs, interest and attorney fees in their favor that

were wrongfully occurred.

                                           Respectfully submitted,

                                           SEWARD HENDERSON PLLC
                                           /s/T. Joseph Seward (P35095)
                                           Attorneys for Defendants
                                           210 East 3rd Street, Suite 212
                                           Royal Oak, Michigan 48067
                                           P: (248) 733-3580
                                           F: (248) 733-3633
                                           E: jseward@sewardhenderson.com
Dated: February 18, 2020
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                             PROOF OF SERVICE

       I hereby certify that on Tuesday, February 18, 2020, I electronically
filed the foregoing document with the Clerk of the court using the ECF
system, and served a copy on Plaintiff via U.S. First Class Mail at the above-
listed address.

                                   /s/ Alyssa Schwarcz
                                   SEWARD HENDERSON PLLC
                                   210 East 3rd Street, Suite 212
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

GRAYSON-BEY,                      Case No. 19-cv-13588-NGE-DRG
                                  Hon. Nancy G. Edmunds
       Plaintiff,                 Mag. Judge David R. Grand
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SOUTHFIELD POLICE DEPARTMENT,
OFFICER MICHAEL WOJCIECHOWSKI,
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SWADE FOX,

       Defendants.

GRAYSON-BEY                       SEWARD HENDERSON PLLC
Plaintiff, Pro Se                 By: T. Joseph Seward (P35095)
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     DEFENDANTS, SOUTHFIELD POLICE DEPARTMENT, OFFICER MICHAEL
     WOJCIECHOWSKI, OFFICER DAVID MOORE, AND OFFICER SWADE FOX’S
                        AFFIRMATIVE DEFENSES

       NOW COME the Defendants, SOUTHFIELD POLICE DEPARTMENT,

OFFICER MICHAEL WOJCIECHOWSKI, OFFICER DAVID MOORE, and OFFICER
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SWADE FOX, by and through their attorneys, SEWARD HENDERSON PLLC, and

for their Affirmative Defenses, states as follows:

      1.      That this matter is barred by res judicata and/or collateral

estoppel.

      2.      That the individual officers herein are entitled to invoke the

Doctrine of Qualified Immunity which bars some or all of the claims made

herein.

      3.      That the Southfield Police Department does not have the

capacity to be sued.

      4.      That at all times hereto, the officers acted upon reasonable

suspicion and/or probable cause, and as such, the claims herein must be

dismissed.

      5.      That these Defendants reserve their right to list additional

affirmative defenses as they become known throughout the course of this

litigation.
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                                         Respectfully submitted,

                                         SEWARD HENDERSON PLLC

                                         /s/T. Joseph Seward (P35095)
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                                         Royal Oak, Michigan 48067
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                                         F: (248) 733-3633
                                         E: jseward@sewardhenderson.com
Dated: February 18, 2020



                             PROOF OF SERVICE

       I hereby certify that on Tuesday, February 18, 2020, I electronically
filed the foregoing document with the Clerk of the court using the ECF
system, and served a copy on Plaintiff via U.S. First Class Mail at the above-
listed address.

                                   /s/ Alyssa Schwarcz
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Dated: February 18, 2020
